                     Exhibit 7




Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 1 of 46
                                   NTi Investigative & Analytical
                                         Support Services                                        Estimate
1 Middle Street, Suite 200                   DATE     June 7, 2019
Lancaster, NH 03584
+1-603-788-4900


TO      Dechert LLP
        160 Queen Victoria Street
        London EC4V 4QQ
        United Kingdom

LABOR
                  ITEM                                                            DESCRIPTION                                            UNIT PRICE       LINE TOTAL
HOURS



                                    NTi currently holds approximately 27 TB of RAK related data and backup copies on 5 Windows
                                    Servers, 1 Forensic Computer, and 11 backup hard drives.

                                    To include:

                                    1. Copies of forensic images and datasets provided by Control Risks

                                    2. Backups of all data provided

                                    3. Email communication and attachments

                                    4. Reports and analytical product

                                    5. Files extracted for production loads for Relativity
          Secure deletion of all
                                    6. Information and intel provided as part of the investigation
         RAK related from NTi’s
 60       servers and backups                                                                                                            $ 200.00     $     12,000.00
                                    7. Hard copies of reports and intel
         (excluding the Torrent
                  Data)
                                    8. Copies of all productions provided to CDS

                                    Action Plan (excluding Torrent Data)

                                    NTi’s analysts will conduct keyword searches with our internal email database to locate and delete
                                    email correspondences containing attachments relating to RAK.

                                    NTi will shred and destroy all hard copies of RAK related data.

                                    NTi will identify and delete all work, analytical product, and Relativity productions containing
                                    information extracted from the RAK datasets.

                                    NTi will complete an advanced deletion (3 passes) on any/all backup drives containing RAK data.

                                    Please see a detailed list of the RAK related data on page 2



                                                                          TOTAL                                                                       $ 12,000.00




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                                    Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 2 of 46
                                        RAK Data
   Item                                Description                  Size (GB)        Backup Sizes
                                                                        13                13
                                                                        58                58
                                                                       448               448
                                                                       552               552
                                                                       116               116
                                                                        51                51
                                                                       415               415
                                                                        8                 8
                                                                      1,738             1,738
                                                                      1,810             1,810
                                                                      1,346             1,346
                                                                        86                86
                                                                        58                58
                                                                        2                 2
                                                                        32                32
                                                                      7.48              7.48

                                                                      2.85              2.85

                                                                       0                  0

                                                                      1.04              1.04

                                                                      370                370

                                                                      24.4              24.4

                                                                      12.2              12.2

                                                                      36.7              36.7

                                                                      2.77              2.77

                                                                      103                103

                                                                      1.33              1.33

                                                                      1.65              1.65

                                                                      35.8              35.8

                                                                      95.5              95.5

                                                                       24                24

                                                                      2.62              2.62

                                                                      1.2                1.2



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          Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 3 of 46
                                        RAK Data
   Item                                Description                  Size (GB)        Backup Sizes
                                                                      9.91              9.91

                                                                      5.12              5.12

                                                                      3.97              3.97

                                                                     0.566              0.566

                                                                      28.7              28.7

                                                                      4.88              4.88

                                                                     0.964              0.964

                                                                      2.05              2.05

                                                                       0                  0

                                                                     0.121              0.121

                                                                     0.077              0.077

                                                                      1.54              1.54

                                                                      22.2              22.2

                                                                      2.84              2.84

                                                                      8.98              8.98

                                                                       6                  6

                                                                      37.8              37.8

                                                                      7.77              7.77

                                                                      4.83              4.83

                                                                      3.29              3.29

                                                                       7                  7

                                                                      54.7              54.7

                                                                      5.53              5.53

                                                                      1.99              1.99




CONFIDENTIAL                                                                    JGS_000063

          Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 4 of 46
                                        RAK Data
   Item                                Description                  Size (GB)        Backup Sizes
                                                                      3.97              3.97

                                                                      9.01              9.01

                                                                      7.92              7.92

                                                                      2.09              2.09

                                                                      10.9              10.9

                                                                      8.58              8.58

                                                                     0.018              0.018

                                                                      13.9              13.9

                                                                      0.24              0.24

                                                                      27.4              27.4

                                                                      1.2                1.2

                                                                      46.9              46.9

                                                                      3.69              3.69

                                                                      149                149

                                                                      465                465

                                                                      18.7              18.7

                                                                      12.4              12.4

                                                                      232                232

                                                                      115                115

                                                                      84.7              84.7

                                                                      931                931

                                                                     0.217              0.217

                                                                    0.00115            0.00115

                                                                     0.082              0.082




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          Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 5 of 46
                                        RAK Data
   Item                                Description                  Size (GB)        Backup Sizes
                                                                    0.00045            0.00045

                                                                     0.038              0.038

                                                                     0.0005            0.0005

                                                                    0.00015            0.00015

                                                                    0.00021            0.00021

                                                                      0.01              0.01

                                                                      12.3              12.3

                                                                      8.38              8.38

                                                                     0.0001            0.0001

                                                                    0.00674            0.00674


                                                                     0.009              0.009

                                                                    0.00048            0.00048

                                                                      465                465

                                                                     0.329              0.329

                                                                     0.031              0.031

                                                                      7.34              7.34

                                                                      3.73              3.73

                                                                      3.75              3.75

                                                                      10.5              10.5

                                                                      3.52              3.52

                                                                      7.61              7.61

                                                                      10.1              10.1

                                                                      3.63              3.63

                                                                      3.69              3.69



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          Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 6 of 46
                                           RAK Data
   Item                                   Description                   Size (GB)         Backup Sizes

                                                                          0.02                   0.02

                                                                          3.66                   3.66

                                                                          232                    232

                                                                          0.617              0.617

                                                                          1.84                   1.84

                                                                         0.00043            0.00043

                                                                          465                    465

                                                                          931                    931

                                                                          149                    149

                                                                          120                    120

                                                                          141                    141

                                                                          0.009              0.009

                                                                         0.00032            0.00032

                                                                          149                    149

                                                                          465                    465

                                                                          72.6                   72.6

                                                                          465                    465

                                                                         0.00016            0.00016
                                           Total Size                  13556.00869        13556.00869

                             Total Size of All Data and Backups (GB)               27112.01738
                             Total Size of All Data and Backups (TB)               27.11201738




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          Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 7 of 46
From:                                Poletto, Alexa <apoletto@sidley.com>
Sent:                                Friday, August 28, 2020 10:51 AM
To:                                  Jessica Gray; Chianese, Christina Prusak; Egleson, Christopher M.; Chung, Nancy; 'Louise
                                     Flanagan'
Cc:                                  'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
Subject:                             RE: Introduction - NTI / Sidley

Follow Up Flag:                      Follow up
Flag Status:                         Completed


Jessica,

Would you be able to have the data ready by September 4? We appreciate your assistance in expediting this process.

Kind regards,

Alexa


ALEXA POLETTO
Associate

SIDLEY AUSTIN LLP
+1 212 839 7340
apoletto@sidley.com



           From: Jessica Gray <jess@ntilawenforcement.org>
           Sent: Friday, August 28, 2020 9:49 AM
           To: Poletto, Alexa <apoletto@sidley.com>; Chianese, Christina Prusak <cchianese@sidley.com>; Egleson,
           Christopher M. <cegleson@sidley.com>; Chung, Nancy <nchung@sidley.com>; 'Louise Flanagan'
           <l.flanagan@rakez.com>
           Cc: 'Rich Garcia' <rich@ntilawenforcement.org>; 'Phil Renzulli' <phil@ntilawenforcement.org>;
           Tom.conaway@goazimuth.com
           Subject: RE: Introduction - NTI / Sidley

           Alexa,

           Please note, the data will not be ready for transfer by September 2nd. The data will take at least one full week to
           copy considering the voluminous size.

           Jessica Gray
           Chief Operating Officer
           NTi Investigative and Analytical Support Services
           Phone: (603) 788-4900 Ext. 305
           Fax: (603) 788-4901
           Jess@ntilawenforcement.org

           GSA Certified - Contract Number GS-07F-0434Y
                                                                1
           CONFIDENTIAL                                                                                JGS_000078

                Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 8 of 46
HubZone Certified Business - #51853
Website: www.NTiLawEnforcement.org

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strictly prohibited. If you have received this e-mail by mistake, please immediately respond to this e-mail to
notify the sender.

From: Poletto, Alexa
Sent: Friday, August 28, 2020 9:41 AM
To: Jessica Gray; Chianese, Christina Prusak; Egleson, Christopher M.; Chung, Nancy; 'Louise Flanagan'
Cc: 'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
Subject: RE: Introduction - NTI / Sidley

Jessica

Thank you for the signed engagement letter and cost proposal. While the proposal generally looks fine to us, we
would like to include a step plan and timeline for the data transfer. Can you work with Deloitte to develop a
timeline with milestones that can be included in the proposal please? We would like the data to be ready for
transport by September 2, please. We will initiate an email chain with Deloitte to this effect so that everyone is
on the same page.

Separately, we’d prefer the EL and proposal to be two stand-alone documents; we will get the EL signed and
returned to you.

Thank you.

Kind regards,

Alexa


ALEXA POLETTO
Associate

SIDLEY AUSTIN LLP
+1 212 839 7340
apoletto@sidley.com



          From: Jessica Gray <jess@ntilawenforcement.org>
          Sent: Thursday, August 27, 2020 10:22 AM
          To: Poletto, Alexa <apoletto@sidley.com>; Chianese, Christina Prusak <cchianese@sidley.com>;
          Egleson, Christopher M. <cegleson@sidley.com>; Chung, Nancy <nchung@sidley.com>; 'Louise
          Flanagan' <l.flanagan@rakez.com>
          Cc: 'Rich Garcia' <rich@ntilawenforcement.org>; 'Phil Renzulli' <phil@ntilawenforcement.org>;
          Tom.conaway@goazimuth.com
          Subject: RE: Introduction - NTI / Sidley

          Alexa,


                                                    2
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     Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 9 of 46
     Attached please find the signed engagement letter. I’ve also attached a modified estimate to reflect the
     115GB decreased size of the data.

     Many thanks,

     Jessica Gray
     Chief Operating Officer
     NTi Investigative and Analytical Support Services
     Phone: (603) 788-4900 Ext. 305
     Fax: (603) 788-4901
     Jess@ntilawenforcement.org

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     From: Poletto, Alexa [mailto:apoletto@sidley.com]
     Sent: Thursday, August 20, 2020 5:14 PM
     To: Jessica Gray; Chianese, Christina Prusak; Egleson, Christopher M.; Chung, Nancy; 'Louise Flanagan'
     Cc: 'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
     Subject: RE: Introduction - NTI / Sidley

     Jessica,

     Please find attached an updated engagement letter reflecting our discussions on Tuesday. I’ve also
     attached a redline against the version that we last circulated.

     Separately, we will follow up with an email connecting you with Deloitte in order to help facilitate the
     transfer.

     Kind regards,

     Alexa


     ALEXA POLETTO
     Associate

     SIDLEY AUSTIN LLP
     +1 212 839 7340
     apoletto@sidley.com




                                                 3
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  Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 10 of 46
          From: Jessica Gray <jess@ntilawenforcement.org>
          Sent: Tuesday, August 18, 2020 7:43 AM
          To: Poletto, Alexa <apoletto@sidley.com>; Chianese, Christina Prusak <cchianese@sidley.com>;
          Egleson, Christopher M. <cegleson@sidley.com>; Chung, Nancy <nchung@sidley.com>; 'Louise
          Flanagan' <l.flanagan@rakez.com>
          Cc: 'Rich Garcia' <rich@ntilawenforcement.org>; 'Phil Renzulli' <phil@ntilawenforcement.org>;
          Tom.conaway@goazimuth.com
          Subject: RE: Introduction - NTI / Sidley

          Hi Alexa,

          12:30pm EST would be fantastic.

          Many thanks,

          Jessica Gray
          Chief Operating Officer
          NTi Investigative and Analytical Support Services
          Phone: (603) 788-4900 Ext. 305
          Fax: (603) 788-4901
          Jess@ntilawenforcement.org

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          HubZone Certified Business - #51853

          Website: www.NTiLawEnforcement.org

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          From: Poletto, Alexa [mailto:apoletto@sidley.com]
          Sent: Monday, August 17, 2020 11:56 PM
          To: Jessica Gray; Chianese, Christina Prusak; Egleson, Christopher M.; Chung, Nancy; 'Louise
          Flanagan'
          Cc: 'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
          Subject: RE: Introduction - NTI / Sidley

          Hi Jessica,

          Are you available tomorrow (Tuesday) sometime between 12:00-2:00 EST to discuss?

          Thank you,

          Alexa



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  Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 11 of 46
          ALEXA POLETTO
          Associate

          SIDLEY AUSTIN LLP
          +1 212 839 7340
          apoletto@sidley.com



                  From: Jessica Gray <jess@ntilawenforcement.org>
                  Sent: Thursday, August 13, 2020 3:44 PM
                  To: Chianese, Christina Prusak <cchianese@sidley.com>; Egleson, Christopher M.
                  <cegleson@sidley.com>; Chung, Nancy <nchung@sidley.com>; 'Louise Flanagan'
                  <l.flanagan@rakez.com>
                  Cc: Poletto, Alexa <apoletto@sidley.com>; 'Rich Garcia' <rich@ntilawenforcement.org>;
                  'Phil Renzulli' <phil@ntilawenforcement.org>; Tom.conaway@goazimuth.com
                  Subject: RE: Introduction - NTI / Sidley

                  Hi Christina,

                  NTi would like to schedule a conference call to discuss engagement letters and proposed
                  terms. Are you available next week sometime to discuss?

                  Many thanks,

                  Jessica Gray
                  Chief Operating Officer
                  NTi Investigative and Analytical Support Services
                  Phone: (603) 788-4900 Ext. 305
                  Fax: (603) 788-4901
                  Jess@ntilawenforcement.org

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                  From: Chianese, Christina Prusak [mailto:cchianese@sidley.com]
                  Sent: Thursday, August 13, 2020 3:02 PM
                  To: Jessica Gray; Egleson, Christopher M.; Chung, Nancy; 'Louise Flanagan'
                  Cc: Poletto, Alexa; 'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
                  Subject: RE: Introduction - NTI / Sidley

                  Hi Jessica,

                                              5
CONFIDENTIAL                                                                         JGS_000082

  Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 12 of 46
                I hope you are well. We wanted to circle back on the engagement letter, and also our
                question in my email below.

                Best,
                Christina


                CHRISTINA PRUSAK CHIANESE
                Partner

                SIDLEY AUSTIN LLP
                +1 212 839 6062
                cchianese@sidley.com




                          From: Jessica Gray <jess@ntilawenforcement.org>
                          Sent: Wednesday, August 5, 2020 2:14 PM
                          To: Chianese, Christina Prusak <cchianese@sidley.com>; Egleson, Christopher
                          M. <cegleson@sidley.com>; Chung, Nancy <nchung@sidley.com>; 'Louise
                          Flanagan' <l.flanagan@rakez.com>
                          Cc: Poletto, Alexa <apoletto@sidley.com>; 'Rich Garcia'
                          <rich@ntilawenforcement.org>; 'Phil Renzulli' <phil@ntilawenforcement.org>;
                          Tom.conaway@goazimuth.com
                          Subject: RE: Introduction - NTI / Sidley

                          Christina,

                          NTi will review the proposed engagement letter and revert with any questions.
                          Please advise if you wish to discuss further.

                          Thank you,

                          Jessica Gray
                          Chief Operating Officer
                          NTi Investigative and Analytical Support Services
                          Phone: (603) 788-4900 Ext. 305
                          Fax: (603) 788-4901
                          Jess@ntilawenforcement.org

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                      From: Chianese, Christina Prusak [mailto:cchianese@sidley.com]
                      Sent: Wednesday, August 05, 2020 1:24 PM
                      To: Jessica Gray; Egleson, Christopher M.; Chung, Nancy; 'Louise Flanagan'
                      Cc: Poletto, Alexa; 'Rich Garcia'; 'Phil Renzulli'; Tom.conaway@goazimuth.com
                      Subject: RE: Introduction - NTI / Sidley

                      Hi Jessica,

                      I hope that you are well. Please see attached our edits to the engagement
                      letter. As you’ll see, the client has proposed a fixed rate structure which we can
                      discuss. Would you also be able to confirm the amount that has been paid for
                      the data to date?

                      Many thanks,
                      Christina



                      CHRISTINA PRUSAK CHIANESE
                      Partner

                      SIDLEY AUSTIN LLP
                      +1 212 839 6062
                      cchianese@sidley.com




                      From: Jessica Gray <jess@ntilawenforcement.org>
                      Sent: Friday, July 17, 2020 2:25 PM
                      To: Egleson, Christopher M. <cegleson@sidley.com>; Chung, Nancy
                      <nchung@sidley.com>; 'Louise Flanagan' <l.flanagan@rakez.com>
                      Cc: Chianese, Christina Prusak <cchianese@sidley.com>; Poletto, Alexa
                      <apoletto@sidley.com>; 'Rich Garcia' <rich@ntilawenforcement.org>; 'Phil
                      Renzulli' <phil@ntilawenforcement.org>; Tom.conaway@goazimuth.com
                      Subject: RE: Introduction - NTI / Sidley

                      Attached please find NTi’s draft engagement letter for this matter. We will be
                      standing by for further instructions.

                      Many thanks,

                      Jessica Gray
                      Chief Operating Officer
                      NTi Investigative and Analytical Support Services
                      Phone: (603) 788-4900 Ext. 305
                      Fax: (603) 788-4901
                      Jess@ntilawenforcement.org

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                      HubZone Certified Business - #51853

                                          7
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                      From: Egleson, Christopher M. [mailto:cegleson@sidley.com]
                      Sent: Thursday, July 16, 2020 7:10 PM
                      To: Jessica Gray; Chung, Nancy; 'Louise Flanagan'
                      Cc: Chianese, Christina Prusak; Poletto, Alexa
                      Subject: RE: Introduction - NTI / Sidley

                      Great to meet you too, Jessica, and the rest of the team. We’ll look over these
                      materials and look forward to receiving the draft engagement letter. Thanks
                      again.


                      CHRISTOPHER M. EGLESON
                      Partner

                      SIDLEY AUSTIN LLP
                      +1 213 896 6108
                      cegleson@sidley.com




                      From: Jessica Gray <jess@ntilawenforcement.org>
                      Sent: Thursday, July 16, 2020 3:36 PM
                      To: Chung, Nancy <nchung@sidley.com>; 'Louise Flanagan'
                      <l.flanagan@rakez.com>
                      Cc: Egleson, Christopher M. <cegleson@sidley.com>; Chianese, Christina Prusak
                      <cchianese@sidley.com>; Poletto, Alexa <apoletto@sidley.com>
                      Subject: RE: Introduction - NTI / Sidley

                      All,

                      It was a pleasure speaking with everyone today. As discussed, attached please
                      find the following data and report inventories:

                             1. Data Inventory: Detailing data in NTi’s possession. I’ve created two tabs;
                                one tab showing the datasets provided to NTi for analysis and one tab
                                showing the various copies, backups, productions requests, dtSearch
                                indexes, etc.
                             2. Report Index: Detailing the investigative and analytical reports
                                produced by NTi.
                             3. Production Request: Detailing Dechert’s requested productions and
                                keyword queries.

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CONFIDENTIAL                                                                       JGS_000085

  Case 1:20-cv-00954-WO-JLW Document 277-7 Filed 08/29/23 Page 15 of 46
                      Many thanks,

                      Jessica Gray
                      Chief Operating Officer
                      NTi Investigative and Analytical Support Services
                      Phone: (603) 788-4900 Ext. 305
                      Fax: (603) 788-4901
                      Jess@ntilawenforcement.org

                      GSA Certified - Contract Number GS-07F-0434Y
                      HubZone Certified Business - #51853

                      Website: www.NTiLawEnforcement.org

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                      distribution of any information or materials transmitted herewith is strictly
                      prohibited. If you have received this e-mail by mistake, please immediately
                      respond to this e-mail to notify the sender.



                      From: Chung, Nancy [mailto:nchung@sidley.com]
                      Sent: Wednesday, July 15, 2020 3:15 PM
                      To: Louise Flanagan; Jessica Gray
                      Cc: Egleson, Christopher M.; Chianese, Christina Prusak; Poletto, Alexa
                      Subject: RE: Introduction - NTI / Sidley

                      Thank you, Louise, for the introduction. Jessica, It is nice to meet you. Could
                      you give us a few times that work for you for a call so that we can discuss next
                      steps?

                      Many thanks.

                      Nancy


                      NANCY CHUNG


                      SIDLEY AUSTIN LLP
                      +1 212 839 6070
                      nchung@sidley.com



                      From: Louise Flanagan <l.flanagan@rakez.com>
                      Sent: Wednesday, July 15, 2020 1:35 PM
                      To: Jessica Gray <jess@ntilawenforcement.org>
                      Cc: Chung, Nancy <nchung@sidley.com>; Egleson, Christopher M.
                      <cegleson@sidley.com>; Chianese, Christina Prusak <cchianese@sidley.com>;

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                      Poletto, Alexa <apoletto@sidley.com>
                      Subject: Introduction - NTI / Sidley

                      Dear Jessica

                      I hope that you and your family are well. I apologise for not being in touch for
                      several months following our previous email engagement relating to the NTI /
                      RAK data. I have since discussed further internally in the context of a wider data
                      location and migration exercise I have been working through. I thought it would
                      be helpful to introduce you to the Sidley team who are advising RAK on the US
                      aspects of its data. Would it please be possible for them to liaise directly with
                      you to discuss the RAK data NTI holds and in order to put in place an
                      engagement letter directly between NTI and RAK Development?

                      I understand that VMS will have separately touched base with you on this
                      matter but apologies if they have not done so yet – I’m conscious of the time
                      differences involved and wanted to ensure I sent this across before the end of
                      my day.

                      Kind regards

                      Louise Flanagan
                      General Counsel
                      IDO Legal Department



                                 T : +971 7 22 77 888
                                 M : +971 56 400 5105
                                 F : +971 7 22 77 887
                                 P.O. Box 12222, Ras Al Khaimah, UAE
                                 e-mail: l.flanagan@rakez.ae
                                        www.ido.ae

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                     ATTORNEY CLIENT PRIVILEGE MATERIAL
                          ATTORNEY WORK PRODUCT

Ras Al Khaimah Development LLC
Naser Bustami



- Via Email -

August 20, 2020

Dear Naser Bustami:

ENGAGEMENT LETTER

As you know, NTi has been providing services for the benefit of Ras Al Khaimah and
various of its instrumentalities and affiliated entities including without limitation the
Investment and Development Office of the Government of Ras al Khaimah (“IDO”), Ras
Al Khaimah Investment Authority (“RAKIA”) and Ras Al Khaimah Development LLC
(“RAK Dev”) (collectively, “Client”) at the direction of the Client’s prior counsel Dechert
LLP. Client and NTi wish to directly memorialize between themselves the terms on
which NTi will provide such services going forward. NTi has set out below a description
of the services that NTi Investigative and Analytical Support Services will provide to
Client together with a suggested fee to conduct these services.

NTi will provide the following services to Client, in each case only on the written
instruction of attorneys from Sidley Austin LLP with the IDO General Counsel
Louise Flanagan (IDO GC) in copy, or at the written instruction of the IDO GC
alone:




                            1 Middle Street, Suite 200, Lancaster, NH 03584
                         +1‐603‐788‐4900 | 855‐287‐9684 | Fax: 603‐788‐4901
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NTi agrees that in the course of providing services to the Client neither NTi nor any
individual engaged to assist in NTi’s work will engage in any illegal, unethical, or
deceptive conduct.

Retention Policy for Client Data:

NTi currently holds data belonging to the Client that includes (a) data originally received
from the Client or third parties retained by the Client (“Original Client Data”), (b) data
obtained in the course of prior investigative work for the Client (“Internet Data”), and (c)
any work product prepared during the engagement (“Work Product”) (collectively,
“Client Data”). Going forward, NTi will retain Client Data for no longer than 90 days,
unless the IDO GC and NTi agree in writing to a longer retention period with respect to
particular Client Data. Upon execution of this agreement, NTi will promptly transfer, in a
secure manner to be agreed upon in advance by the Client, all copies of the Client Data
to the following address:

       Deloitte Professional Services (DIFC) Limited
       Attn: Boray Altunisler
       Currency House, Building 1, Level 5, DIFC
       PO Box 112865, Dubai
       United Arab Emirates

NTi will not retain any Client Data currently in its possession.

NTi’s fee for these services will be as follows:

NTi’s hourly rate will be USD $250.

Other fees, expenses, travel may only be incurred after prior written approval from the
IDO GC. These expenses will be invoiced at actual expenses and invoiced separately
with appropriate supporting receipts. Invoices will be sent at the end of each month,
with payment due within 30 days from date of invoice.

In consideration of the foregoing terms and conditions, client understands that NTi shall
utilize good faith and its best efforts to perform its services in connection with the matter
set forth in this agreement. Client agrees and understands that no promises of any kind
regarding the outcome of this analysis/investigation have been made, and Client
expects no promise(s) of any kind from NTi. Furthermore, NTi cannot guarantee that
the data developed during this                                                       is
sufficient to provide the Client with the information they need for their purpose and
compensation is not dependent on documenting
                                           in this matter. Client agrees that NTi will conduct
the analysis/investigation at its sole discretion.




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Client understands and agrees that any and all public record sources given to Client by
NTi are for information purposes only. NTi assume no liability for accuracy,
completeness or omissions.

Client understands and agrees information provided through NTi is based on criteria
provided by Client or currently being held by NTi, which should be verified prior to
submission by Client. NTi assume no responsibility for accuracy of this information and
or its subsequent application by Client.

Confidentiality and Disclosure:

NTi will treat all information and data provided to NTi by the Client (including without
limitation the Client Data and Internet Data), all information and data obtained as a
result of work for the Client, as well as all work product derived therefrom (including
without limitation the Work Product) (“Client’s Confidential Information”) as confidential
and not disclose to anyone not authorized in writing to have or view it as determined by
the IDO GC. NTi will not disclose to anyone at NTi or authorize anyone at NTi to have
access to or view the Client’s Confidential Information except those NTi individuals so
authorized in writing by the IDO GC. NTi will take all necessary measures to ensure
that NTi employees or consultants not authorized to view or access the Client’s
Confidential Information are prevented from gaining access to the Client’s Confidential
Information. NTi understands that Jamie Buchanan will not work on matters pertaining
to the Client and will not be given access to the Client’s Confidential Information. This
includes any verbal discussions relating to the Client’s Confidential Information.

As previously stated, going forward, NTi will retain Client Data for no longer than 90
days, unless the IDO GC and NTi agree in writing to a longer retention period with
respect to particular Client Data. NTi will maintain a copy of Internet Data and Work
Product until instructed by the IDO GC that these items will be destroyed or after a three
(3) year period if no contact by the IDO GC. Until such time, NTi will maintain this
information in a secure location. NTI agrees that the Client’s Confidential Information
and any and all information, data, documents, images, files, data bases whether in
electronic or physical form provided to NTI in connection with this engagement will
remain the proprietary data of the Client and his/her employers and may not be
released or disclosed to any third party without the express written permission of Client
or his/her representatives. NTi agrees to promptly make the IDO GC aware of any
request from a third party for access to the Client’s Confidential Information, including
without limitation in connection with any legal process or subpoena. NTi agrees to
cooperate and assist the Client in protecting any Client Confidential Information
requested by third parties from disclosure.




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If any portion of this agreement is determined to be invalid, the invalid portion shall be
stricken, however the remainder of the agreement shall retain its full legal force and
effect.

This Agreement shall be deemed to have been entered into in and shall be governed by
the laws of the State of New York both as to performance and interpretation, without
regard to choice of law provisions. Any dispute relating to this Agreement or its terms
shall be resolved by binding arbitration in New York in accordance with the rules of the
London Court of International Arbitration. The language of the arbitration shall be
English.

The parties acknowledge that they have read this Agreement, understand it, and agree
to be bound by its terms and conditions. Further, they agree the complete, exclusive
and final statement of the agreement between the parties relating to the subject matter
shall consist of this Agreement only. This Agreement supersedes all proposals or other
prior agreements, oral or written, and all other communications between the parties
relating to the subject. This includes the contract between Vital Management Services
of Chapel Hill, North Carolina USA dated August 14, 2017. This Agreement cannot be
modified except by a subsequent writing signed by authorized representatives of NTI or
Client.

Work Taskings:

   a) All work taskings to NTi will be from Sidley Austin LLP with the IDO GC in copy,
      or at the written instruction of the IDO GC alone and will be provided to NTi in a
      written format (email) prior to any work conducted by NTi.
   b) The IDO GC will keep NTi informed on who has the authority to task NTi as well
      as who can receive the results of any tasking.

Our expectations of the Client are:

   a) Provide NTi with any and all information necessary in order to conduct the
      services required of NTi for the Client.
   b) Contact NTi if there are any changes to the status of the services or information
      provided to NTi for analysis.

Payment Methods:

Upon receipt of an Invoice, payment can be in a form of EBT, payable to NTi, ATTN:
Jessica Samson. ACH payment and SWIFT account information is available upon
request.

Point of Contact at NTi:



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Ms. Jessica Samson will be your primary contact for this matter and can be reached at
+1 603-788-4900 or by Email: Jess@ntilawenforcement.org if you have any questions
about this matter, you should contact her directly. If Ms. Jessica Samson is not
available, Client may contact Richard Garcia at +1 603-788-4900, Ext 713 or by Email
rich@ntilawenforcement.org

If you agree that the foregoing fairly sets out your understanding of our mutual
responsibilities, please sign a copy of this letter in the space indicated below indicating
you accept the terms of this agreement. Please return the executed Engagement
Letter to Jessica Samson via Email at Jess@ntilawenforcement.org with copy to Phillip
Renzulli at phil@ntilawenforcement.org

Yours sincerely,




Phillip Renzulli - President/CEO
NTi Investigative and Analytical Support Services

www.ntilawenforcement.org
+1 603-788-4900

Agreed and Accepted:

__________________________________
Ras Al Khaimah Development LLC, Representative

__________________________________
Print Name - Title

__________________________________
Date




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